      Case 1:24-cv-03220-DLF      Document 53   Filed 05/14/25   Page 1 of 5




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


                                        )
ELI LILLY AND COMPANY, et al.,          )
              Plaintiffs,               )
                                        )       Case No. 24-CV-3220 (DLF)
                   v.
                                        )
                                        )
ROBERT F. KENNEDY, JR., et al.,
                                        )
             Defendants.
                                        )
                                        )
BRISTOL MYERS SQUIBB COMPANY,           )
             Plaintiff,                 )
                                        )       Case No. 24-CV-3337 (DLF)
                   v.
                                        )
                                        )
ROBERT F. KENNEDY, JR., et al.,
                                        )
             Defendants.
                                        )
                                        )
SANOFI-AVENTIS U.S. LLC,                )
             Plaintiff,                 )
                                        )       Case No. 24-CV-3496 (DLF)
                   v.
                                        )
                                        )
UNITED STATES DEPARTMENT OF
                                        )
HEALTH AND HUMAN SERVICES, et al.,
                                        )
            Defendants.
                                        )
                                        )
NOVARTIS PHARMACEUTICALS                )
CORPORATION,                            )
             Plaintiff,                 )
                                        )       Case No. 25-CV-117 (DLF)
                   v.
                                        )
                                        )
ROBERT F. KENNEDY, JR., et al.,
                                        )
             Defendants.
                                        )
                                        )
KALDEROS, INC.,                         )
             Plaintiff,                 )
                                        )       Case No. 21-CV-2608 (DLF)
                   v.
                                        )
                                        )
UNITED STATES OF AMERICA, et al.,
                                        )
            Defendants.
                                        )
        Case 1:24-cv-03220-DLF           Document 53        Filed 05/14/25      Page 2 of 5




                           PLAINTIFFS’ NOTICE TO THE COURT

       Plaintiffs submit this notice to advise the Court of the attached brief filed by Defendants

HHS and HRSA (hereinafter “HHS”) in Premier, Inc. v. HRSA, No. 24-cv-3116 (LLA) (D.D.C.)

(Ex.1), as certain points made there by HHS relating to the product replenishment model are rele-

vant to issues in the cases pending before this Court.

       First, HHS’s brief confirms that covered entities carry the “float”—the difference between

market price and the 340B ceiling price—under the product replenishment model. See Ex.1 at 8

(“Hospitals that elect to use a product replenishment model must make their initial purchase of

drugs that it intends to dispense to 340B-eligible patients at the wholesale acquisition cost.”). That

is no different from a cash replenishment rebate model—indeed, under plaintiffs’ proposals, cov-

ered entities will quickly receive their rebates or credits from their initial purchases, likely long

before making a subsequent purchase. See id. at 16 (describing “the product replenishment model”

as one “where [the covered entity] needs to make some purchases without the 340B discount”

(emphasis added)).

       Second, HHS’s brief confirms that HHS never pre-approved the product replenishment

model: “covered entities began using the product replenishment model of their own volition,” id.

at 16, and the Agency later “had become aware ‘through its program integrity initiatives’ that

covered entities had begun using the product replenishment model.” Id. at 10. This underscores

that a pre-approval requirement is something the Agency invented only for these cases.

       Third, HHS’s brief confirms that, whatever the product replenishment model may be (re-

bate or otherwise), it is not an “upfront discount[].” Id. at 16.




                                                  1
       Case 1:24-cv-03220-DLF         Document 53       Filed 05/14/25    Page 3 of 5




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       HHS’s treatment of Plaintiffs’ proposed cash replenishment rebate models—particularly

in contrast to the agency’s treatment of the product replenishment model—is unlawful and should

be vacated.

Dated: May 14, 2025                            Respectfully submitted,


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                                              2
Case 1:24-cv-03220-DLF   Document 53    Filed 05/14/25     Page 4 of 5




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                               3
Case 1:24-cv-03220-DLF   Document 53    Filed 05/14/25     Page 5 of 5




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                               4
